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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                      Case No. _______– Civ

  Charisse Sands
  Plaintiff,
  Vs.
  Robert Half International, Inc.
  Defendant.
  _______________________________________/
                                             COMPLAINT
           Plaintiff, Charisse Sands, (“Plaintiff” or “Sands”) through counsel files suit against

  Defendant, Robert Half International, Inc. (“Defendant” or “RHI”) and hereby avers as follows:

                                            JURISDICTION
  1. The jurisdiction of the Court over matters in this Complaint is founded upon 28 U.S.C. §

        1331, and 28 U.S.C. § 1367(a).

  2. Sands is a US Citizen and resides in Broward County, Florida.

  3. Robert Half International, Inc. is a Delaware Corporation with its principal office located in

        Menlo Park, California but with offices located throughout Florida.

  4. At all material times, Sands worked for RHI in their Miami-Dade County office.

                                                 VENUE

  5. The facts related in this Complaint occurred throughout Florida and while Plaintiff was an

        employee of Defendant and living within in the Southern District of Florida; therefore, venue

        is appropriate in this Court.

                                        ADMINISTRATIVE EXHAUSTION

  6.     On or about September 4, 2020, Sands filed a EEOC Charge docketed as 510-2020-05626
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       alleging discrimination based on her gender (Title VII), Retaliation, Discrimination based

       upon a Disability, and See Exhibit A.

  7.   Sands cross-filed that charge with the Florida Commission on Human Relations.

  8.   On or about March 18, 2021, the EEOC issued a Right to Sue letter. Exhibit B.

                                      Factual Background

 9.    Charisse Sands (“Sands”) is an African-American female and afforded protections pursuant
       to the United States Civil Rights Act, Title VII as well as the Florida Human Rights Act and
       is over the age of 40.
 10.   Robert Half Legal (“RHL”) is an international legal placement firm with offices located
       throughout Florida.
 11.   Sands began working for RHL in 2010 in their Miami office.
 12.   In 2011, Sands was awarded the RHL Rookie of the Year Award for her stellar performance
       in recruitment and placement of legal professionals within the legal industry.
 13.   In 2018 she was recognized as having the second fastest growing division in the world with
       RHL, awarding her the coveted distinction of “President’s Club” member.
 14.   That same year she was named to the “Million Dollar Club”, an elite club for high revenue
       generating employees.
 15.   As a result of Sands performance, she was one of 25 individuals selected to attend RHL’s
       Leadership Summit in 2019, a program designed to foster advanced skills for directors on a
       path to advanced leadership.
 16.   However, in 2018 RHL placed Tony Trombetta (“Trombetta”), a white male, as the
       Regional Manager which encompassed Sands’ branch in Coral Gables.
 17.   Almost a year into Trombetta’s tenure, Sands attended a meeting with Charles A. Volkert
       (“Volkert”), District President, to discuss Trombetta’s mismanagement of the Coral Gables
       team.
 18.   Specifically, she advised Volkert that Trombetta routinely did not work on Mondays and
       Fridays in violation of company policy and that he was violating the sales tracking rules
       which affected Sands’ team’s bonuses.
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 19.   Soon after Sands’ meeting with Volkert, Trombetta began to employ tactics to sabotage
       Sands’ production and leadership.
 20.   This retaliation directly impacted Sands’ ability to generate revenue.
 21.   For instance, he refused to take action against an individual who was intimidating recruiters
       to not work on Sands’ orders.
 22.   Further, when Sands determined that one of the workers was underperforming and was not
       going to improve, Trombetta refused to authorize Sands’ to terminate the underperforming
       worker.
 23.   This worker’s inability to perform directly correlated to Sands sales metrics dropping.
 24.   Trombetta then scuttled Sands ability to advance within RHL by advising her that she should
       become an individual producer as she was not going to have any more opportunities for
       elevated leadership for at least two years. This move resulted in Sands not being eligible
       for promotion and also directly impacted her earnings potential.
 25.   Shortly after, a white male, Jose Silva “Jose” was hired as a Division Director to manage 1
       team member that formerly reported to Sands. A few weeks after starting it was revealed he
       would be managing both team members that were previous reporting to Sands.
 26.   Weeks into his hiring, Jose was given the authority by Trombetta to fire both employees
       that previously reported to Sands without cause or warning.              This included the
       underperforming employee that Sands wanted to terminate but Trombetta refused to permit.
 27.   The termination of these employee resulted in Sands’ being left with only 1 newly hired
       employee to attempt to assist in recruiting.
 28.   In addition, Sands had been going through a divorce. Her personal issues began before
       Trombetta was assigned as Regional Manager when Sands had one of the top producing
       teams. However, upon finding out about Sands’ pending divorce, Trombetta told Sands that
       she should work from home “to take care of her baby.” Sands was shocked at the comment
       as she had never once requested any sort of accommodation or change in her work due to
       her divorce.
 29.   Dissatisfied that Sands declined to work from home, Trombetta then wanted to take Sands
       desk away to force her to work from home; requiring that she submit a request to the team
       admin and get permission to come to the office.
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 30.    However, throughout all of this, Sands stood up for herself and reported issues with
        coworkers and working conditions.
 31.    Rather than take action, Sands was labeled a “difficult personality” by Trombetta.
 32.    Sands production numbers dropped due to internal attempts to sabotage her orders, stealing
        clients and RHL’s failure to address the issues that Sands continuously raised. Issues that
        were reported and RHL failed to act.
 33.    Sands was eventually advised that her production was down. Sands tried to address the
        issues that the metrics were misleading, and her numbers were down through no fault of her
        own but due to perceived racial biases among team members and co-workers sabotaging her
        efforts.
 34.    Again, Sands concerns were ignored, and she was terminated.
 35.    Following her termination, Jose, who was hired to fill her previous position was elevated to
        a leadership position. The same position that Trombetta had stated Sands would not be
        eligible for 2 years.
 36.    Further, Sands had recommended an employee who engaged in hostile behavior for
        discipline but was repeatedly ignored.         This employee’s behavior impacted Sands
        performance and thus, the numbers that RHL used to justify Sands termination. However,
        after Sands was fired, a white team member had complained about the same behavior
        resulting in this hostile employee’s immediate firing.
 37.    It is clear that RHL permitted racial biases and gender biases to infiltrate the decision
        making that led to her termination.



                                                COUNT I
                                Title VII of the Civil Rights Act of 1964
                                        Gender Discrimination
  38.    Paragraphs 9-37 are reincorporated as if fully set forth herein.

  39.    Sands is a member of a protected class as a female.

  40.    Defendant was an employer subject to Title VII.

  41.    Sands satisfactorily performed the duties required by her position prior to Trombetta

         becoming Regional Manager.
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  42.     Sands was treated different in that she was stripped of her recruitment team, labeled as

          hostile and difficult to work with. Meanwhile males were listened to and when they

          complained about a the same hostile employee that Sands did, the hostile employee was

          terminated.

  43.     Further, Sands was told that there was no chance at a leadership position. However, as

          soon as she was fired, a male was given the leadership position that Sands was told was

          not available.

          Wherefore, Plaintiff respectfully requests that this Honorable Court award all remedies and

  damages permitted under Title VII including, but not limited to, backpay, front pay, emotional

  distress and reputation harm damages, punitive damages, attorney’s fees, costs, and interest and any

  other relief this Court deems just and proper.

                                                COUNT II
                           Violation of Title VII of the Civil Rights Act of 1964
                                                Retaliation
  44.     Paragraphs 9-37 are reincorporated as if fully set forth herein.

  45.     Sands engaged in protected activity by reporting issues with Trombetta to human

          resources and a district manager.

  46.     Sands also reported rascist behavior exhibited by other RHI employees.

  47.     Defendant knew or should have known that Sands was asserting a protected right.

  48.     As a result of Sands seeking recourse and reporting behavior that violated RHI’s policies,

          RHI retaliated against her by terminating her employment.

  49.     Sands has suffered damages including, but not limited to, the loss of her employment,

          financial damages, harm to her reputation, and emotional distress.
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          Wherefore, Plaintiff respectfully requests that this Honorable Court award all remedies

  and damages permitted under Title VII including, but not limited to, backpay, front pay,

  emotional distress and reputation harm damages, punitive damages, attorney’s fees, costs, and

  interest and any other relief this Court deems just and proper.

                                             COUNT III
                              Title VII of the Civil Rights Act of 1964
                                        Race Discrimination
  50.     Paragraphs 9-37 are reincorporated as if fully set forth herein.

  51.     Sands is a member of a protected class as an African American.

  52.     Defendant was an employer subject to Title VII.

  53.     Sands satisfactorily performed the duties required by her position prior to Trombetta

          becoming Regional Manager.

  54.     Sands was treated different in that she was stripped of her recruitment team, labeled as

          hostile and difficult to work with. Meanwhile non African-American males were listened

          to and when they complained about a the same hostile employee that Sands did, the

          hostile employee was terminated.

  55.     Further, Sands was told that there was no chance at a leadership position. However, as

          soon as she was fired, a non African-American was given the leadership position that

          Sands was told was not available.

  56.     Further, Trombetta and RHI frequently resorted to stereotypical labels to describe Sands

          such as difficult and aggressive.

          Wherefore, Plaintiff respectfully requests that this Honorable Court award all remedies and

  damages permitted under Title VII including, but not limited to, backpay, front pay, emotional

  distress and reputation harm damages, punitive damages, attorney’s fees, costs, and interest and any

  other relief this Court deems just and proper.
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                                             COUNT IV
                              Title VII of the Civil Rights Act of 1964
                               Discrimination on the Basis of Color
  57.     Paragraphs 9-37 are reincorporated as if fully set forth herein.

  58.     Sands is a member of a protected class in that her skin tone is dark and not normally

          associated with Caucasian skin tones.

  59.     Defendant was an employer subject to Title VII.

  60.     Sands satisfactorily performed the duties required by her position prior to Trombetta

          becoming Regional Manager.

  61.     Sands was treated different in that she was stripped of her recruitment team, labeled as

          hostile and difficult to work with. Meanwhile employees with lighter skin tones were

          listened to and when they complained about the same hostile employee that Sands did,

          the hostile employee was terminated.

  62.     Further, Sands was told that there was no chance at a leadership position. However, as

          soon as she was fired, an employee with a lighter skin tone was given the leadership

          position that Sands was told was not available.

          Wherefore, Plaintiff respectfully requests that this Honorable Court award all remedies and

  damages permitted under Title VII including, but not limited to, backpay, front pay, emotional

  distress and reputation harm damages, punitive damages, attorney’s fees, costs, and interest and any

  other relief this Court deems just and proper.



                                           COUNT V
                Violation of the Age Discrimination in Employment Act of 1967
  63.     Paragraphs 9-37 are reincorporated as if fully set forth herein.

  64.     Sands is a member of a protected class as she is over the age of 40.
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  65.      Defendant was an employer subject to Title VII.

  66.      Sands satisfactorily performed the duties required by her position.

  67.      Sands was treated different in that she was stripped of her recruitment team and

           eventually terminated.

  68.      Further, Sands was told that there was no chance at a leadership position. However, as

           soon as she was fired, a younger male was given the leadership position that Sands was

           told was not available.

  69.      Younger employees were often provided additional support and resources that was

           routinely denied to Sands.

           Wherefore, Plaintiff respectfully requests that this Honorable Court award all remedies and

  damages permitted under the Age Discrimination in Employment Act including, but not limited to,

  backpay, front pay, emotional distress and reputation harm damages, punitive damages, attorney’s

  fees, costs, and interest and any other relief this Court deems just and proper.


                                               COUNT VI
                                         Florida Civil Rights Act
                                               Retaliation


  70. Paragraphs 9-37 are reincorporated as if fully set forth herein.

  71. Sands engaged in protected activity including by reporting behavior, including racist comments,

        which violated RHI’s policies.

  72. Shortly after the protected activity, Sands suffered materially adverse actions by being

        terminated.

  73. A causal connection exists between the protected activity and the materially adverse actions

        including, but not limited to, a close temporal proximity and ongoing antagonism against Sands.
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  74. There was no justification for these adverse actions and any justification provided was a pretext

        for retaliation.

  75. As a result of Defendants’ retaliatory conduct, Sands has suffered damages including, but not

        limited to, the loss of her employment, financial damages, harm to her reputation, and emotional

        distress.

        WHEREFORE, Sands respectfully requests that this Honorable Court enter judgment in her favor

  and award all remedies and damages permitted under the Florida Civil Rights Act including, but not

  limited to, backpay, front pay, emotional distress and reputation harm damages, punitive damages,

  attorney’s fees, costs, and interest.

                                                COUNT VII
                                          Florida Civil Rights Act
                                    Discrimination on the Basis of Race


  76.       Paragraphs 9-37 are reincorporated as if fully set forth herein.

  77.       Sands is a member of the protected class.

  78.       Defendant is an employer for purposes of the Florida Civil Rights Act.

  79.       Sands was qualified for her position.

  80.       Sands suffered an adverse employment action in the form of the termination of her

            employment.

  81.       These adverse actions occurred under circumstances giving rise to an inference of race

            discrimination.

  82.       There was no justification for these adverse actions and any justification provided was a

            pretext for discrimination.

  83.       As a result of Defendants’ discriminatory conduct, Sands has suffered damages including, but

            not limited to, the loss of her employment, financial damages, harm to her reputation, and

            emotional distress.
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          WHEREFORE, Sands respectfully requests that this Honorable Court enter judgment in her

  favor and award all remedies and damages permitted under the Florida Civil Rights Act including,

  but not limited to, backpay, front pay, emotional distress and reputation harm damages, punitive

  damages, attorney’s fees, costs, and interest.

                                             COUNT VIII
                                        Florida Civil Rights Act
                                  Discrimination on the Basis of Color


  84.     Paragraphs 9-37 are reincorporated as if fully set forth herein.

  85.     Sands is a member of the protected class.

  86.     Defendant is an employer for purposes of the Florida Civil Rights Act.

  87.     Sands was qualified for her position.

  88.     Sands suffered an adverse employment action in the form of the termination of her

          employment.

  89.     These adverse actions occurred under circumstances giving rise to an inference of

          discrimination on the basis of her color.

  90.     There was no justification for these adverse actions and any justification provided was a

          pretext for discrimination.

  91.     As a result of Defendants’ discriminatory conduct, Sands has suffered damages including, but

          not limited to, the loss of her employment, financial damages, harm to her reputation, and

          emotional distress.

          WHEREFORE, Sands respectfully requests that this Honorable Court enter judgment in her

  favor and award all remedies and damages permitted under the Florida Civil Rights Act including,

  but not limited to, backpay, front pay, emotional distress and reputation harm damages, punitive

  damages, attorney’s fees, costs, and interest.
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                                              COUNT IX
                                        Florida Civil Rights Act
                                   Discrimination on the Basis of Sex


  92.     Paragraphs 9-37 are reincorporated as if fully set forth herein.

  93.     Sands is a member of the protected class as she is over the age of 40.

  94.     Defendant is an employer for purposes of the Florida Civil Rights Act.

  95.     Sands was qualified for her position.

  96.     Sands suffered an adverse employment action in the form of the termination of her

          employment.

  97.     These adverse actions occurred under circumstances giving rise to an inference of age

          discrimination.

  98.     There was no justification for these adverse actions and any justification provided was a

          pretext for discrimination.

  99.     As a result of Defendants’ discriminatory conduct, Sands has suffered damages including, but

          not limited to, the loss of her employment, financial damages, harm to her reputation, and

          emotional distress.

          WHEREFORE, Sands respectfully requests that this Honorable Court enter judgment in her

  favor and award all remedies and damages permitted under the Florida Civil Rights Act including,

  but not limited to, backpay, front pay, emotional distress and reputation harm damages, punitive

  damages, attorney’s fees, costs, and interest.

                                        COUNT X
                             FLORIDA AGE DISCRIMINATION ACT
  100.    Paragraphs 9-37 are reincorporated as if fully set forth herein.

  101.    Sands is a member of a protected class as she is over the age of 40.

  102.    Defendant was an employer subject to Title VII.
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  103.    Sands satisfactorily performed the duties required by her position.

  104.    Sands was treated different in that she was stripped of her recruitment team and

          eventually terminated.

  105.    Further, Sands was told that there was no chance at a leadership position. However, as

          soon as she was fired, a younger male was given the leadership position that Sands was

          told was not available.

  106.    Younger employees were often provided additional support and resources that was

          routinely denied to Sands.

          Wherefore, Plaintiff respectfully requests that this Honorable Court award all remedies and

  damages permitted under the Age Discrimination in Employment Act including, but not limited to,

  backpay, front pay, emotional distress and reputation harm damages, punitive damages, attorney’s

  fees, costs, and interest and any other relief this Court deems just and proper.

                                           JURY TRIAL DEMANDED

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